Case 21-08018-JMM          Doc 17      Filed 09/28/21 Entered 09/28/21 22:06:03      Desc Main
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Attorney for Defendant
                                  UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF IDAHO
    In re:

    MIKE TERANCE TRACY,                            Case No. 20‐40074‐JMM

                     Debtor.

    KATHLEEN MCCALLISTER,

                     Plaintiff,
    vs.                                            Adversary No. 21‐08018‐JMM

    NANCY KUNAU,

                     Defendant.

                                         NOTICE OF HEARING

          NOTICE IS GIVEN that a telephonic hearing will be held regarding Plaintiff’s Motion to
Dismiss on 12 October 2021 at 1:30 PM at the US Bankruptcy Court, 801 E Sherman, Pocatello,
Idaho.
          Judge Meier’s Conference Number (877) 336‐1829
          Access Code: 5781287#
          Security Code: 1234#


          DATED this 28 September 2021


                                                     _/s/ Paul Ross___________________
                                                     PAUL ROSS
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                                        CERTIFICATE OF SERVICE
        I hereby certify that on 28 September 2021, I filed the foregoing electronically through
the CM/ECF system, which caused the following parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing:
                    Kathleen McCallister, ECF, Trustee
                    Jeff Kaufman, ECF, attorney for Trustee

        I further certify that on such date I served the foregoing on the following non‐CM/ECF
Registered Participants in the manner indicated:
        Via First Class mail, posted prepaid addressed as follows:
                    NA

        Via certified mail, return receipt requested, addressed as follows:
                    NA


                                                        _/s/ Paul Ross___________________




                                                                                               2
Notice of Hearing
